NFT (12/1/20) cml                   UNITED STATES BANKRUPTCY COURT                        U.S. BANKRUPTCY COURT
                                             District of Oregon                            DISTRICT OF OREGON
                                                                                                 FILED
In re                                           )
 Blue Moon Property Group, LLC                  ) Case No. 22−31873−thp11          August 1, 2023
Debtor(s)                                       )                           Clerk, U.S. Bankruptcy Court
                                                ) NOTICE OF FILING OF
                                                ) TRANSCRIPT AND OF                 BY cml DEPUTY
                                                ) DEADLINES RELATED TO
                                                ) RESTRICTION AND REDACTION
                                                )

ALL PARTIES ARE NOTIFIED THAT:

1. An electronic transcript of the hearing held on 7/12/2023, re Transcript re: Objection to claim 2 Held, was
   filed on 8/1/23.

2. To review the transcript for redaction purposes as set out in paragraph 3, you may purchase a copy from
   the transcriber The Record Xchange 1−800−406−1290, or you may view the document at the clerk's
   office.

3. Pursuant to Local Bankruptcy Rule 5077−1, the following procedures apply regarding redaction of certain
   information that could be included in the transcript:

    (a) General. Each party, including any attorney for the party, must review a transcript for the following
        information that should be redacted under the Judicial Conference's privacy policy: SSNs and ITINs
        should be redacted to show only the last four digits; birth dates should contain only the year of birth;
        individuals known to be minors should be referred to only with initials; and financial account numbers
        should be redacted to show only the last four digits. [NOTE: The Local Rule was adopted pursuant to a
        privacy policy promulgated and required for use by the Judicial Conference of the United States. The
        Policy Note provided by the Judicial Conference may be obtained from www.privacy.uscourts.gov.]

    (b) Notice of Intent to Request Redaction. No later than seven days after a transcript is filed, a party
        must file a notice of that party's intent to request redaction of information from the transcript. A party is
        responsible for reviewing the opening and closing statements made on behalf of that party, any
        statements made by that party, and the testimony of any witness called by that party. If no notice is
        timely filed, the court will presume that redaction of personal data is not necessary.

    (c) Redaction Request/Completion. Once a party has filed a notice of intent to request redaction, that
        party must, no later than 21 days after the transcript was filed, submit to the court reporter or
        transcriptionist a list of items to be redacted including the transcript page, paragraph, and line in which
        the personal data appears, and the manner in which each is to be redacted. No later than 31 days
        after the transcript was filed, the court reporter or transcriptionist must redact the identifiers as
        directed, and file the redacted transcript. Also during this time period a party may, by motion, request
        that additional information be redacted. No remote electronic public access to the transcript will be
        allowed until the court has ruled on any motion regarding its redaction, all redaction deadlines have
        expired, and all redaction has occurred.

                                                                                      Clerk, U.S. Bankruptcy Court




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